











Opinion issued March 10, 2006

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In The
Court of Appeals
For The
First District of Texas
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NO. 01-06-00142-CR
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IN RE CLIFFORD A. SMITH, Relator




Original Proceeding on Petition for Writ of Mandamus



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MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator, Clifford A. Smith, has filed in this Court a pro se petition for writ
of mandamus asking that we order respondent


 to: quash the indictment in cause
number 05CR1182 .  We deny the petition.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A writ of mandamus will issue to correct a clear abuse of discretion or the
violation of a duty imposed by law when there is no adequate remedy at law. 
Canadian Helicopters Ltd. v. Wittig, 876 S.W.2d 304, 305 (Tex. 1994) (orig.
proceeding).  If the respondent trial court has a legal duty to perform a
nondiscretionary act, the relator must make a demand for performance that the
respondent refuses.  Barnes v. State, 832 S.W.2d 424, 426 (Tex. App.—Houston [1st
Dist.] 1992, orig. proceeding). The relator must also provide this Court with a
sufficient record to establish his right to mandamus relief.  Walker v. Packer, 827
S.W.2d 833, 837 (Tex. 1992) (orig. proceeding).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator has not provided us with a record that shows he filed any motions,
requested relief from respondent, or served the respondent.  See Tex. R. App. P.
52.3(j).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Therefore, the petition for writ of mandamus is denied.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;IT IS FURTHER ORDERED that the Clerk of this Court mail a copy of
this order to Wayne Mallia, Judge, 405th Judicial District Court, Galveston County, 
722 Moody Avenue, Galveston, Texas, 77550.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;IT IS FURTHER ORDERED that the Clerk of this Court mail a copy of
this order to Kurt Sistrunk, Galveston County Criminal District Attorney, Galveston
County Courthouse,  722 Moody Avenue, Suite 300, Galveston, Texas, 77550.
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PER CURIAM
Panel consists of Chief Justice Radack, and Justices Jennings and Alcala.
Do not publish.  Tex. R. App. P. 47.2(b).


